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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 APR 28 PH 2: n
Eastern Division

  
 

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UNITED STATES oF AMERICA W.D.f;; Tf\ JACKSON
-v- Case No. 1:05cr10032-002T
RONNIE L. MULLEN
ORDER SETT|NG

COND|TIONS OF RELEASE

IT IS ORDER_ED that the release of the defendant is Subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom Courtrooln # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below'.

Secured Financial Conditions

0 Execute a bond in the amount of $10,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: $1000.

0 report as directed by the Pretrial Services Office.
0 Maintain or actively seek employment
o Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted

in residence and travel to the Western District of Tennessee.
0 Undergo psychiatric treatment as determined by Pretrial Services.

o Participate in an electronic monitoring program as directed by Pretrial Services. You shall pay all or part of
the cost of the program based upon your ability to pay as determined by Pretrial Services.

__1 Thls document entered on the docket sheet In compliance
with Ru|e 55 and/or 32(b) FRCrP on

AO 199A Order Setting Cenditions of Release

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0 Other: refrain from possessing computer'or video recording equipment;"*' _ "'_'“ “_'“"* "

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federa| offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a 3250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fineen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense ln addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release, lpromise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.
gai-mm @éL M/\

signature of Defeiid`am
Ad¢iress: dill R.EVE(?E CIRLLE Af'l`t-'-l?/O
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Phone# 73\”5|3‘ O['i?>:~»

AO 199A Order Setting Conditions ot Re|ease '2'

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D|RECT|ONS TO THE UN|TED STATES MARSHAL"""'

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release, The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

/ /-"'_"
Date: April 26, 2005 § //é/W//‘f.{ @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

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AO 199A Order Setling Condiiions 01 Re|elsa -3-

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

Richard Leigh Grinalds

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Honorable .l ames Todd
US DISTRICT COURT

